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                               UNITED STATES DISTRICT COURT
                                                        for the
                                                Western District of Texas
                                                    Austin Division

                United States of America                       )
                           v.                                  )
                                                               )    Case No. 1:21-cr-00048-LY-19
                  Adrianne Spence (19)                         )
                        Defendant                              )

                                ORDER OF DETENTION PENDING TRIAL
                                            Part I - Eligibility for Detention
     On Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), the Court held a detention hearing and
found that detention is warranted. This order sets forth the Court’s findings of fact and conclusions of law, as required by
18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                            Part II - Analysis and Statement of the Reasons for Detention

  X A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
    rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of
    the defendant as required and the safety of the community because there is probable cause to believe that the
    defendant committed one or more of the following offenses:
         X (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
            Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
            (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
            (2) an offense under 18 U.S.C. §§ 924(c).

       B. Conclusions Regarding Applicability of Any Presumption Established Above
           The presumption shifts to the defendant only the burden of producing rebutting evidence, not the burden of
       persuasion. United States v. Hare, 873 F.2d 796 (5th Cir. 1989). The defendant has not introduced sufficient
       evidence to rebut the presumption above, and detention is ordered on that basis.

                           Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g), the Pretrial Services Report, and the evidence and

arguments of counsel at the detention hearing, the Government has proven that no condition or combination of conditions

of release will reasonably assure the safety of the community (by clear and convincing evidence) or the defendant’s

appearance as required (by a preponderance of the evidence). The Government submitted evidence that Ms. Spence was

arrested in both April and May 2020 in vehicles containing firearms and controlled substances. In addition, the State of

Texas has moved to revoke Ms. Spence’s bond for numerous offenses she allegedly committed since 2019 while on release.

As she has not introduced sufficient evidence to rebut the presumption, Ms. Spence’s detention pending trial is required.

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                                        Part IV - Directions Regarding Detention

        The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated

representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving

sentences or being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private

consultation with defense counsel. On order of a court of the United States or on request of an attorney for the Government,

the person in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an

appearance in connection with a court proceeding.




Date:      July 19, 2021
                                                               Susan Hightower
                                                               United States Magistrate Judge




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